        Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 1 of 10 PageID 5137
AO 133 (Rev. 07/24) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                   Middle District of Florida
                                                                               District of
                                                                                                  )
                                 Christopher E. Dorworth                                          )
                                           v.                                                     )        Case No.:              6:23-cv-000871-CEM-DCI
                                                                                                  )
                             Joel Micah Greenberg, et al.                                         )


                                                                                  BILL OF COSTS
Judgment having been entered in the above entitled action on                                    9/5/24                            against       Plaintiff                                 ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $                0.00

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              0.00

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                                20,653.17

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       0.00

Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    0.00
Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         0.00
Docket fees under 28 U.S.C. § 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      0.00
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 0.00
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             0.00
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. § 1828 . . . .                                                                          0.00
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    8,157.50
                                                                                                                                                TOTAL             $        28,810.67
SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.


                                                                                         Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
        ’
        ✔           Electronic service                                     ’       First class mail, postage prepaid
          ’         Other:
              s/ Attorney:             William E. Peters, Jr.
                      William E. Peters, Jr.
                          Name of Attorney:
For: Andrew Greenberg and Susan Greenberg                                                                                                                Date:   09/19/2024
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                          and included in the judgment.

                                                                                   By:
                           Clerk of Court                                                                        Deputy Clerk                                             Date
      Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 2 of 10 PageID 5138
AO 133 (Rev. 07/24) Bill of Costs
                                      UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. § 1821 for statutory fees)
                                                                      ATTENDANCE           SUBSISTENCE            TRAVEL
                                                                                                                                        Total Cost
            NAME , CITY AND STATE OF RESIDENCE                                   Total               Total   Expenses/   Total         Each Witness
                                                                      Days       Cost      Days      Cost      Miles      Cost

n/a
                                                                                                                                                 $0.00



                                                                                                                                                 $0.00



                                                                                                                                                 $0.00



                                                                                                                                                 $0.00



                                                                                                                                                 $0.00


                                                                                                                                                 $0.00


                                                                                                                     TOTAL                       $0.00


                                                                       NOTICE

   Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
   “Sec. 1924. Verification of bill of costs.”
       “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
   his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
   that the services for which fees have been charged were actually and necessarily performed.”

   See also Section 1920 of Title 28, which reads in part as follows:
       “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

   The Federal Rules of Civil Procedure contain the following provisions:
   RULE 54(d)(1)
   Costs Other than Attorneys’ Fees.
       Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney’s fees — should be allowed to the
   prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
   may tax costs on 14 days’ notice. On motion served within the next 7 days, the court may review the clerk’s action.

   RULE 6
   (d) Additional Time After Certain Kinds of Service. When a party may or must act within a specified time after being served and service is made
   under Rule 5(b)(2)(C) (mail), (D) (leaving with the clerk), or (F) (other means consented to), 3 days are added after the period would otherwise
   expire under Rule 6(a).
   RULE 58(e)
   Cost or Fee Awards:
        Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
   timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
   effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.




         Print                       Save As...
                                                                                                                                         Reset
      Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 3 of 10 PageID 5139
                                                                                                       Invoice INV2859915
                                                                                    Date 7/31/2024                        Client Number C285171
           1500 Centre Pkwy
           Suite 100                                                              Terms Net 30                             Esquire Oﬃce Denver
           East Point GA 30344                                                  Due Date 8/30/2024                      Proceeding Type Deposition
           888-486-4044                                                                                                Name of Insured
           www.esquiresolutions.com                                                                                              Adjuster
           Tax ID # XX-XXXXXXX
                                                                                                                      Firm Matter/File #
                                                                                                                            Client VAL ID
                                                                                                                             Date of Loss

          Bill To                                                                                    Services Provided For
          King Blackwell Zehnder & Wermuth PA                                                        King Blackwell Zehnder & Wermuth PA - Orlando
          25 East Pine Street                                                                        Wermuth, Fritz
          3rd Floor                                                                                  25 East Pine Street
          PO Box 1631                                                                                3rd Floor
          Orlando FL 32802                                                                           Orlando FL 32802



 Job Date           Job ID                         Job Location                                                                 Case
 7/23/2024       J11164213                     Orlando, FLORIDA                            CHRISTOPHER E. DORWORTH V. JOEL MICAH GREENBERG

Description                                                           Deponent                                 Qty          Unit Rate Tax                  Amount
COPY W/VIDEO & VTC                                                    Rebekah Dorworth                               572          4.40                        $2,516.80
3 DAY EXPEDITE                                                        Rebekah Dorworth                                            80%                         $2,013.44
E-EXHIBITS 8.5x11(14) BW COPY                                         Rebekah Dorworth                                44          0.65                           $28.60
E-EXHIBITS 8.5x11(14) COLOR COPY                                      Rebekah Dorworth                                16          0.65                           $10.40
ROUGH ASCII                                                                                                          469          2.50                        $1,172.50
LITIGATION SUPPORT COPY                                               Rebekah Dorworth                                 1         35.00                           $35.00
CONDENSED-COPY                                                        Rebekah Dorworth                                 1         20.00                           $20.00
PROCESSING & COMPLIANCE                                               Rebekah Dorworth                                 1         30.00                           $30.00




                                                                                                                                              Subtotal              5,826.74
                                                                                                                                    Shipping Cost (n/a)                 0.00
                                                                                                                                                 Total             $5,826.74
                                                                                                                                          Amount Due                5,826.74
 Attorney is responsible for payment of all charges incurred. Payment is due by “Due Date” shown on invoice. Failure to pay by “Due Date” may result in the assessment
 of a late fee. Transcript package typically includes transcript/word index, exhibits, appearance fee, condensed transcript, litigation support disk, shipping, video charges
 and may include other service charges based on job or region. Some services and rates may vary by job or region. Please contact your local oﬃce for speciﬁc detail and
 questions. Full Terms and Conditions are viewable online at www.esquiresolutions.com/terms-conditions. These stated terms and conditions, to the extent they
 contradict the rules and regulations in Arizona, do not apply. All aspects of this invoice and other business terms comply with the ethical obligations set forth in the AZ
 Code of Judicial Administration Section 7-206(J)(1)(g)(3) through (6).

                                             Please detach and return this bottom portion with your payment or
                           pay online or obtain W9 at www.esquireconnect.com or to pay just this invoice with CC/ACH: Pay Now

                                                                                                               Client Name King Blackwell Zehnder &
                                                                                                                           Wermuth PA - Orlando
Remit to:                                     Federal Express, UPS or Overnight USPS:
                                                                                                                     Client # C285171
Esquire Deposition Solutions, LLC             Esquire Deposition Solutions, LLC                                    Invoice # INV2859915
P. O. Box 846099                              Lockbox 846099
Dallas, TX 75284-6099                         1950 N. Stemmons Freeway                                         Invoice Date 7/31/2024
                                              Suite 5010
                                              Dallas, TX 75208                                                     Due Date 8/30/2024
                                                                                                               Amount Due $5,826.74
            Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 4 of 10 PageID 5140



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 1500 Centre Parkway Suite 100
 East Point, GA GA 30344, United States
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 King Blackwell Zehnder & Wermuth PA - Orlando                                                                      SlatementDate: 0810112024
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 Client lD: C285171                                                                                                                                          o
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 25 East Pine Street
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                                                                                                                                                             o
 3rd Floor                                                                                                                                                   F
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 Orlando, FL32802, United States
                                                                                                                                                             o
 Phone: 407-422-2472                                                                                                                                         F
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                                                                                                                                                             N
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 Transaction                                                                                       Days Past
                       lnvoices             Case name            Attorney         Due date                          Balance due        Firm File Number
     Date                                                                                              Due

  07t24t2024      tNV2853728              CHRISTOPHER E,      Wermuth, Fritz     0812312024             0                     502.73
                                     DORWORTH, V. JOEL
                                    MICAH GREENBERG, ET
                                            AL.
  07t31t2024 rNV2859915                   CHRISTOPHER E.      Wermuth,   Fritz 0813012024               0                 5,826.74
                                         DORWORTH V. JOEL
                                         MICAH GREENBERG



                                                                                                   Total due:                    USD             6,329.47


Aging - USD
      Current                1-30 days          31-60 days       61-90 days           > 90 days

            6,329.47

Please contact us at 800-2'1 1-DEPO with any Questions.
Remittance: P.O. Box 846099 Dallas, TX 75284-6099
For a W9 please go to https://www.esquireconnect.com/loginpage/index.ssp?is=login&origin=defaultbehavior&whence=#login-register The link is on the
main page
      Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 5 of 10 PageID 5141
                                                                                                       Invoice INV2901195
                                                                                    Date 9/19/2024                        Client Number        C10048
           1500 Centre Pkwy
           Suite 100                                                              Terms Net 30                             Esquire Oﬃce        Jacksonville
           East Point GA 30344                                                  Due Date 10/19/2024                     Proceeding Type        Deposition
           888-486-4044                                                                                                Name of Insured
           www.esquiresolutions.com                                                                                             Adjuster
           Tax ID # XX-XXXXXXX
                                                                                                                      Firm Matter/File #       111353-7
                                                                                                                  Client Claim/Matter #        111353-7
                                                                                                                             Date of Loss

          Bill To                                                                                    Services Provided For
          Wicker, Smith, O'Hara, McCoy & Ford, P.A.- Fort                                            Wicker Smith OHara McCoy & Ford - Fort Lauderdale
          Lauderdale                                                                                 Peters, William
          515 East Las Olas Boulevard                                                                515 East Las Olas Boulevard
          SunTrust Center, Suite 1400                                                                SunTrust Center, Suite 1400
          Fort Lauderdale FL 33301                                                                   Fort Lauderdale FL 33301



 Job Date           Job ID                         Job Location                                                                 Case
 9/4/2024        J11685401                    Pensacola, FLORIDA                           CHRISTOPHER E. DORWORTH V. JOEL MICAH GREENBERG

Description                                                           Deponent                                 Qty          Unit Rate Tax                  Amount
STANDARD COPY W/ VC/REMOTE                                            Andrew Greenberg                               288          4.00                        $1,152.00
E-EXHIBITS B&W COPY                                                   Andrew Greenberg                               814          0.65                         $529.10
E- EXHIBITS COLOR COPY                                                Andrew Greenberg                                41          0.65                           $26.65
LITIGATION SUPPORT COPY                                               Andrew Greenberg                                 1         35.00                           $35.00
CONDENSED TRANSCRIPT                                                  Andrew Greenberg                                 1         20.00                           $20.00
PROCESSING & COMPLIANCE                                               Andrew Greenberg                                 1         30.00                           $30.00




                                                                                                                                              Subtotal              1,792.75
                                                                                                                                    Shipping Cost (n/a)                 0.00
                                                                                                                                                 Total             $1,792.75
                                                                                                                                          Amount Due                1,792.75
 Attorney is responsible for payment of all charges incurred. Payment is due by “Due Date” shown on invoice. Failure to pay by “Due Date” may result in the assessment
 of a late fee. Transcript package typically includes transcript/word index, exhibits, appearance fee, condensed transcript, litigation support disk, shipping, video charges
 and may include other service charges based on job or region. Some services and rates may vary by job or region. Please contact your local oﬃce for speciﬁc detail and
 questions. Full Terms and Conditions are viewable online at www.esquiresolutions.com/terms-conditions. These stated terms and conditions, to the extent they
 contradict the rules and regulations in Arizona, do not apply. All aspects of this invoice and other business terms comply with the ethical obligations set forth in the AZ
 Code of Judicial Administration Section 7-206(J)(1)(g)(3) through (6).

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                                                                                                               Client Name Wicker Smith OHara McCoy
                                                                                                                           & Ford - Fort Lauderdale
Remit to:                                     Federal Express, UPS or Overnight USPS:
                                                                                                                     Client # C10048
Esquire Deposition Solutions, LLC             Esquire Deposition Solutions, LLC                                    Invoice # INV2901195
P. O. Box 846099                              Lockbox 846099
Dallas, TX 75284-6099                         1950 N. Stemmons Freeway                                         Invoice Date 9/19/2024
                                              Suite 5010
                                              Dallas, TX 75208                                                     Due Date 10/19/2024
                                                                                                               Amount Due $1,792.75
      Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 6 of 10 PageID 5142
                                                                                                       Invoice INV2901191
                                                                                    Date 9/19/2024                        Client Number        C10048
           1500 Centre Pkwy
           Suite 100                                                              Terms Net 30                             Esquire Oﬃce        Jacksonville
           East Point GA 30344                                                  Due Date 10/19/2024                     Proceeding Type        Deposition
           888-486-4044                                                                                                Name of Insured
           www.esquiresolutions.com                                                                                             Adjuster
           Tax ID # XX-XXXXXXX
                                                                                                                      Firm Matter/File #       111353-7
                                                                                                                  Client Claim/Matter #        111353-7
                                                                                                                             Date of Loss

          Bill To                                                                                    Services Provided For
          Wicker, Smith, O'Hara, McCoy & Ford, P.A.- Fort                                            Wicker Smith OHara McCoy & Ford - Fort Lauderdale
          Lauderdale                                                                                 Peters, William
          515 East Las Olas Boulevard                                                                515 East Las Olas Boulevard
          SunTrust Center, Suite 1400                                                                SunTrust Center, Suite 1400
          Fort Lauderdale FL 33301                                                                   Fort Lauderdale FL 33301



 Job Date           Job ID                         Job Location                                                                 Case
 9/5/2024        J11685405                    Pensacola, FLORIDA                           CHRISTOPHER E. DORWORTH V. JOEL MICAH GREENBERG

Description                                                           Deponent                                 Qty          Unit Rate Tax                  Amount
STANDARD COPY W/ VC/REMOTE                                            Susan Greenberg                                265          4.00                        $1,060.00
E-EXHIBITS B&W COPY                                                   Susan Greenberg                                246          0.65                         $159.90
E- EXHIBITS COLOR COPY                                                Susan Greenberg                                 90          0.65                           $58.50
LITIGATION SUPPORT COPY                                               Susan Greenberg                                  1         35.00                           $35.00
CONDENSED TRANSCRIPT                                                  Susan Greenberg                                  1         20.00                           $20.00
PROCESSING & COMPLIANCE                                               Susan Greenberg                                  1         30.00                           $30.00




                                                                                                                                              Subtotal              1,363.40
                                                                                                                                    Shipping Cost (n/a)                 0.00
                                                                                                                                                 Total             $1,363.40
                                                                                                                                          Amount Due                1,363.40
 Attorney is responsible for payment of all charges incurred. Payment is due by “Due Date” shown on invoice. Failure to pay by “Due Date” may result in the assessment
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                                                                                                               Client Name Wicker Smith OHara McCoy
                                                                                                                           & Ford - Fort Lauderdale
Remit to:                                     Federal Express, UPS or Overnight USPS:
                                                                                                                     Client # C10048
Esquire Deposition Solutions, LLC             Esquire Deposition Solutions, LLC                                    Invoice # INV2901191
P. O. Box 846099                              Lockbox 846099
Dallas, TX 75284-6099                         1950 N. Stemmons Freeway                                         Invoice Date 9/19/2024
                                              Suite 5010
                                              Dallas, TX 75208                                                     Due Date 10/19/2024
                                                                                                               Amount Due $1,363.40
      Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 7 of 10 PageID 5143
                                                                                                       Invoice INV2877447
                                                                                    Date 8/21/2024                        Client Number        C10048
           1500 Centre Pkwy
           Suite 100                                                              Terms Net 30                             Esquire Oﬃce        Orlando
           East Point GA 30344                                                  Due Date 9/20/2024                      Proceeding Type        Deposition
           888-486-4044                                                                                                Name of Insured
           www.esquiresolutions.com                                                                                             Adjuster
           Tax ID # XX-XXXXXXX
                                                                                                                      Firm Matter/File #       111353-7
                                                                                                                  Client Claim/Matter #        111353-7
                                                                                                                             Date of Loss

          Bill To                                                                                    Services Provided For
          Wicker, Smith, O'Hara, McCoy & Ford, P.A.- Fort                                            Wicker Smith OHara McCoy & Ford - Fort Lauderdale
          Lauderdale                                                                                 Peters, William
          515 East Las Olas Boulevard                                                                515 East Las Olas Boulevard
          SunTrust Center, Suite 1400                                                                SunTrust Center, Suite 1400
          Fort Lauderdale FL 33301                                                                   Fort Lauderdale FL 33301



 Job Date           Job ID                         Job Location                                                                 Case
 8/6/2024        J11551616                     Orlando, FLORIDA                            CHRISTOPHER E. DORWORTH V. JOEL MICAH GREENBERG

Description                                                           Deponent                                 Qty          Unit Rate Tax                  Amount
COPY W/VIDEO & VTC                                                    Christopher Dorworth                           485          4.40                        $2,134.00
7 DAY EXPEDITE                                                        Christopher Dorworth                                        40%                          $853.60
E-EXHIBITS 8.5x11(14) BW COPY                                         Christopher Dorworth                           146          0.65                           $94.90
E-EXHIBITS 8.5x11(14) COLOR COPY                                      Christopher Dorworth                           329          0.65                         $213.85
LITIGATION SUPPORT COPY                                               Christopher Dorworth                             1         35.00                           $35.00
CONDENSED-COPY                                                        Christopher Dorworth                             1         20.00                           $20.00
PROCESSING & COMPLIANCE                                               Christopher Dorworth                             1         30.00                           $30.00




                                                                                                                                              Subtotal              3,381.35
Representing Client: Wicker Smith OHara McCoy & Ford (P) : Wicker Smith OHara McCoy & Ford - Fort                                   Shipping Cost (n/a)                 0.00
Lauderdale                                                                                                                                       Total             $3,381.35
                                                                                                                                          Amount Due                3,381.35
 Attorney is responsible for payment of all charges incurred. Payment is due by “Due Date” shown on invoice. Failure to pay by “Due Date” may result in the assessment
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                           pay online or obtain W9 at www.esquireconnect.com or to pay just this invoice with CC/ACH: Pay Now

                                                                                                               Client Name Wicker Smith OHara McCoy
                                                                                                                           & Ford - Fort Lauderdale
Remit to:                                     Federal Express, UPS or Overnight USPS:
                                                                                                                     Client # C10048
Esquire Deposition Solutions, LLC             Esquire Deposition Solutions, LLC                                    Invoice # INV2877447
P. O. Box 846099                              Lockbox 846099
Dallas, TX 75284-6099                         1950 N. Stemmons Freeway                                         Invoice Date 8/21/2024
                                              Suite 5010
                                              Dallas, TX 75208                                                     Due Date 9/20/2024
                                                                                                               Amount Due $3,381.35
      Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 8 of 10 PageID 5144
                                                                                                       Invoice INV2877448
                                                                                    Date 8/21/2024                        Client Number        C10048
           1500 Centre Pkwy
           Suite 100                                                              Terms Net 30                             Esquire Oﬃce        Orlando
           East Point GA 30344                                                  Due Date 9/20/2024                      Proceeding Type        Deposition
           888-486-4044                                                                                                Name of Insured
           www.esquiresolutions.com                                                                                             Adjuster
           Tax ID # XX-XXXXXXX
                                                                                                                      Firm Matter/File #       111353-7
                                                                                                                  Client Claim/Matter #        111353-7
                                                                                                                             Date of Loss

          Bill To                                                                                    Services Provided For
          Wicker, Smith, O'Hara, McCoy & Ford, P.A.- Fort                                            Wicker Smith OHara McCoy & Ford - Fort Lauderdale
          Lauderdale                                                                                 Foster, James R
          515 East Las Olas Boulevard                                                                515 East Las Olas Boulevard
          SunTrust Center, Suite 1400                                                                SunTrust Center, Suite 1400
          Fort Lauderdale FL 33301                                                                   Fort Lauderdale FL 33301



 Job Date           Job ID                         Job Location                                                                 Case
 8/7/2024        J11551620                     Orlando, FLORIDA                            CHRISTOPHER E. DORWORTH V. JOEL MICAH GREENBERG

Description                                                           Deponent                                 Qty          Unit Rate Tax                  Amount
COPY W/VIDEO & VTC                                                    Christopher Dorworth                           291          4.40                        $1,280.40
7 DAY EXPEDITE                                                        Christopher Dorworth                                        40%                          $512.16
E-EXHIBITS 8.5x11(14) BW COPY                                         Christopher Dorworth                           122          0.65                           $79.30
E-EXHIBITS 8.5x11(14) COLOR COPY                                      Christopher Dorworth                             4          0.65                            $2.60
LITIGATION SUPPORT COPY                                               Christopher Dorworth                             1         35.00                           $35.00
CONDENSED-COPY                                                        Christopher Dorworth                             1         20.00                           $20.00
PROCESSING & COMPLIANCE                                               Christopher Dorworth                             1         30.00                           $30.00




                                                                                                                                              Subtotal              1,959.46
Representing Client: Wicker Smith OHara McCoy & Ford (P) : Wicker Smith OHara McCoy & Ford - Fort                                   Shipping Cost (n/a)                 0.00
Lauderdale                                                                                                                                       Total             $1,959.46
                                                                                                                                          Amount Due                1,959.46
 Attorney is responsible for payment of all charges incurred. Payment is due by “Due Date” shown on invoice. Failure to pay by “Due Date” may result in the assessment
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 and may include other service charges based on job or region. Some services and rates may vary by job or region. Please contact your local oﬃce for speciﬁc detail and
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 contradict the rules and regulations in Arizona, do not apply. All aspects of this invoice and other business terms comply with the ethical obligations set forth in the AZ
 Code of Judicial Administration Section 7-206(J)(1)(g)(3) through (6).

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                           pay online or obtain W9 at www.esquireconnect.com or to pay just this invoice with CC/ACH: Pay Now

                                                                                                               Client Name Wicker Smith OHara McCoy
                                                                                                                           & Ford - Fort Lauderdale
Remit to:                                     Federal Express, UPS or Overnight USPS:
                                                                                                                     Client # C10048
Esquire Deposition Solutions, LLC             Esquire Deposition Solutions, LLC                                    Invoice # INV2877448
P. O. Box 846099                              Lockbox 846099
Dallas, TX 75284-6099                         1950 N. Stemmons Freeway                                         Invoice Date 8/21/2024
                                              Suite 5010
                                              Dallas, TX 75208                                                     Due Date 9/20/2024
                                                                                                               Amount Due $1,959.46
           Case 6:23-cv-00871-CEM-DCI Document 197 Filed 09/20/24 Page 9 of 10 PageID 5145
Forensic Recovery
450 State Road 13, Ste 106
Saint Johns, FL 32259
+19043957218
aweiss@forensicrecovery.com




INVOICE
BILL TO                                                                              INVOICE           20299
Wicker Smith O'Hara McCoy & Ford P.A.                                                DATE              08/17/2024
515 E Las Olas Blvd STE 1400                                                         TERMS             Net 15
Fort Lauderdale, FL 33301                                                            DUE DATE          09/01/2024


P.O. NUMBER                                      REFERENCE
Case No.: 6:23-cv-871-CEM-DCI                    Dorworth v. Greenberg


DESCRIPTION                                                                                    QTY    RATE          AMOUNT

Charges
07/30/2024 - [5:10pm - 5:44pm] Analysis of AT&T records                                    0.60      325.00          195.00
07/31/2024 - [8:44am - 9:19am] Analysis of AT&T records                                    0.60      325.00          195.00
07/31/2024 - [1:00pm - 2:15pm] Teams call with counsel                                     1.30      325.00          422.50
08/05/2024 - [7:50am - 8:40am] Analysis of 1111301000 number                               0.90      325.00          292.50
08/11/2024 - [1:55pm - 3:00pm] Draft of work product preliminary report                    1.10      325.00          357.50
08/11/2024 - [3:53pm - 5:14pm] Draft of work product preliminary report                    1.40      325.00          455.00
08/12/2024 - [1:01pm - 2:00pm] Zoom with counsel                                                 1   325.00          325.00
08/12/2024 - [4:44pm - 6:08pm] Draft of work product preliminary report                    1.50      325.00          487.50
08/13/2024 - [7:27am - 9:00am] Draft of work product preliminary report                    1.60      325.00          520.00
08/13/2024 - [9:00am - 10:06am] Zoom with counsel.                                         1.10      325.00          357.50
08/13/2024 - [1:51pm - 4:00pm] Draft of work product preliminary report                    2.20      325.00          715.00
08/13/2024 - [4:16pm - 4:31pm] Draft of work product preliminary report                    0.30      325.00           97.50
08/13/2024 - [4:31pm - 4:58pm] Zoom with counsel.                                          0.50      325.00          162.50
08/14/2024 - [11:05am - 1:49pm] Draft of work product preliminary report                   2.80      325.00          910.00
08/14/2024 - [2:19pm - 3:03pm] Draft of work product preliminary report                    0.80      325.00          260.00
08/14/2024 - [3:03pm - 3:28pm] Zoom with counsel.                                          0.50      325.00          162.50
08/15/2024 - [12:09pm - 2:59pm] Draft of work product preliminary report                   2.90      325.00          942.50
08/16/2024 - [10:23am - 12:21pm] Draft of work product preliminary report                        2   325.00          650.00
08/16/2024 - [1:57pm - 2:29pm] Draft of work product preliminary report; review of         0.60      325.00          195.00
Dorworth Day 2 Deposition
08/16/2024 - [2:29pm - 2:50pm] Zoom with counsel.                                          0.40      325.00          130.00
08/16/2024 - [6:10pm - 6:39pm] Draft of work product preliminary report                    0.50      325.00          162.50



                                                             Page 1 of 2
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08/17/2024 - [12:40pm - 1:07pm] Finalize work product preliminary report     0.50   325.00       162.50


                                                               SUBTOTAL                         8,157.50
                                                               TAX                                 0.00
                                                               TOTAL                            8,157.50


                                                               BALANCE DUE                   $8,157.50




                                                            Page 2 of 2
